~AO 245C     (Rev.Case     4:05-cr-40033-JPG
                   06/05) Amended Judgment in a Criminal CaseDocument 328   Filed 05/31/11                       Page 1 of Identify
                                                                                                                    (NOTE:  6 Page          ID Asterisks (*»
                                                                                                                                    Changes with
             Sheet I                                                   #773

                                            UNITED STATES DISTRICT COURT
                          SOUTHERN                                      District of                                     ILLINOIS

           UNITED STATES OF AMERICA                                              AMENDED JUDGMENT IN A CRIMINAL CASE
                                V.
                                                                                 Case Number: 4:05CR40033-003-JPG
                STEHANIE M. RENNISON
                                                                                 USM Number: 06696-025
Date of Original Judgment:       11/17/2005                                      Phillip A. Kramer
(Or Date of Last Amended Judgment)                                                Defendant's Attorney

Reason for Amendment:
o Correction of Sentence on Remand (18 U.S.C. 3742(fXI) and (2»                   o Modification of Supervision Conditions (18 U.S.c. §§ 3563(c) or 3583(e»
o Reduction of Sentence for Changed Circumstances (Fed. R. Crim.                  o Modification of Imposed Tenn of Imprisonment for Extraordinary and
  P.35(b»                                                                             Compelling Reasons (18 U.S.C. § 3582(c)(I»
o Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a»              o Modification of Imposed Tenn of Imprisonment for Retroactive Amendment(s)
~ Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)                   to the Sentencing Guidelines (18 U.S.C. § 3582(cX2»

                                                                                  o Direct Motion to District Court Pursuant D 28 U.S.C. § 2255 or
                                                                                      D 18 U.S.C. § 3559(c)(7)
                                                                                  D Modification   OflFtltoEl:j'S'C.               § 3664)

THE DEFENDANT:
~ pleaded guilty to count(s)            1 of the Superseding Indictment
D   pleaded nolo contendere to count(s)
    which was accepted by the court.
                                                                                           ClElI1\   ~y , 8 20"
                                                                                        SOUTHERN ·OS. DISTRICT C
                                                                                                   ISTRICT     .OURT
D was found guilty on count(s)                                                                BENTOr.r 0& OF II t '0'C'/a
    after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                      Nature of Offense                                                             Offense Ended


 21 U.S.C. 846                        Conspiracy to Manufacture and Distribute 50 grams or more                     5/10/2005                       1s

                              'of a miXture&~(Jb~t~nCE!~dh\~illihgMethamp~~lam\~e.,;,
       The defendant is sentenced as provided in pages 2 through   10     of this judgment. The sentence is imposed pursuantto
the Sentencing Reform Act of 1984.
D    The defendant has been found not guilty on count(s)
D    Count(s)                                                  D is D are dismissed on the motion ofthe United States.
         I! is ordered that the defendant must notifY the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notifY the court and United States attorney of material changes in economIc circumstances.
                                                                                5/20/2011




                                                                                                                                   District Judge
                                                                                 N                                              Title of Judge
 AD 245C     Case
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                                                        Case     328 Filed 05/31/11             Page 2 of 6          Page ID
            Sheet 2 - Imprisonment                                #774                              (NOTE: IdentifY Changes with Asterisks (*»

                                                                                                 Judgment -   Page _,,2__ of           10
 DEFENDANT: STEHANIE M. RENNISON
 CASE NUMBER: 4:05CR40033-003-JPG

                                                          IMPRISONMENT

      The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of

87 months on Count 1 of the Superseding Indictment




 rot The court makes the following recommendations to the Bureau of Prisons:
That the defendant be placed in the Intensive Drug Treatment Program.



 o The defendant is remanded to the custody of the United States Marshal.
 o The defendant shall surrender to the United States Marshal for this district:
   o at                                  o a.m o p.m. on
   o as notified by the United States Marshal.
 o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
      o     before 2 p.m. on
      o     as notified by the United States Marshal.
      o     as notified by the Probation or Pretrial Services Office.


                                                                 RETURN
 I have executed this judgment as follows:




      Defendant delivered on                                                      to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy of this judgment.




                                                                                            UNITED STATES MARSHAL


                                                                        By_____________________________________
                                                                                        DEPUTY UNITED STATES MARSHAL
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                Sheet 3 - Supervised Release                         #775                                     (NOTE: Identity Changes with Asterisks (*)

                                                                                                                           3_ of
                                                                                                           Judgment-Page _ _                     10
 DEFENDANT: STEHANIE M. RENNISON
 CASE NUMBER: 4:05CR40033-003-JPG
                                                            SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a tenn of

"4 years on Count 1 of the Superseding Indictment.




          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
 the custody of the Bureau of PrISons.
 The defendant shall not commit another federal, state, or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug tests
 thereafier, as detennined by the court.
 o        The above drug testing condition is suspended, based on the court's detennination that the defendant poses a low risk of
          future substance abuse. (Check, if applicable.)
 r;t The defendant shall not possess a fireann, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
 r;t The defendant shall cooperate in the collection of ONA as directed by the probation officer. (Check, if applicable.)
 o The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
          student, as directed by the probation officer. (Check, if applicable.)
 o        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with
 the Schedule of Payments slieet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
 conditions on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION
     I)    the defendant shall not leave the judicial district without the pennission of the court or probation officer;
   2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days
           of each month;
   3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)       the defendant shall support his or her dependents and meet other family responsibilities;
   5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
   6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
           a felony, unless granted pennission to do so by the probation officer;
  10)      the defendant shall pennit a probation officer to visit him or her at any time at home or elsewhere and shall pennit confiscation of
           any contraband observed in plain view of the probation officer;
  II)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)      the defendant shall not enter into any agreement to act as an infonner or a special agent of a law enforcement agency without the
           pennission of the court; and
  13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
           record, personal history, or characteristics and shall pennit the probation officer to make such notifications and confinn the
           defenaant's compliance with such notification requirement.
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           Sheet 3C - Supervised Release                                                     (NOTE: IdentifY Changes with Asterisks (*})

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                                                                                           Judgment-Page _ _                    10
DEFENDANT: STEHANIE M. RENNISON
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                                       SPECIAL CONDITIONS OF SUPERVISION
X The defendant shall cooperate in the collection of DNA as directed by the probation officer.
X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
commencement of the term of supervised release. The defendant shall pay the fine in installments of $10.00 or ten
percent of his net monthly income, whichever is greater, to commence 30 days after release from imprisonment to a term
of supervision until paid in full.

X The defendant shall provide the probation officer and the Financial Litigation unit of the United States Attorney's Office
with access to any requested financial information. The defendant is advised that the probation office may share financial
information with the Financial Litigation Unit.

X The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, and!or any other
antiCipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
immediately notify the probation officer of the receipt of any indicated monies.

X Due to the defendant's substance abuse history, he shall partiCipate as directed and approved by the probation officer in
treatment for narcotic addiction, drug dependence, or alcohol dependence, which includes urinalysis or other drug
detection measures and which may require residence and/or partiCipation in a residential treatment facility. Any
participation will require complete abstinence from all alcoholic beverages. The defendant shall pay for the costs
associated with substance abuse counseling and! or testing based on a copay sliding fee scale approved by the United
States probation Office. Copay shall never exceed the total costs of counseling. The number of tests shall not exceed 52
in a one year period.

X The defendant shall participate in a program of mental health treatment, as directed by the probation officer until such
time as the defendant is released from the program by the probation officer.
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           Sheet 5 - Criminal Monetary Penalties                #777                                     (NOTE: Identify Changes with Asterisks   (.»
                                                                                                  Judgment -   Page   _...:5~_of          10
DEFENDANT: STEHANIE M. RENNISON
CASE NUMBER: 4:05CR40033-003-JPG
                                            CRIMINAL MONETARY PENALTIES
    The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                    Assessment                                        Fine                               Restitution
TOTALS           $ 100.00                                          $ 750.00                            $ 0.00


DO The determination of restitution is deferred until_ _ _ _ _ _ . An Amended Judgment in a Criminal Case (AO 245C) will be
     entered after such determination.

D   The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

    [fthe defendant makes a partial payment, each payee shall receive an approximately Jlroportioned payment, unless specified otherwise
    in the priority order or percentage payment column below. However, pursuantto 18 U.S.C. § 3664(i), all nonfederal victims must be paid
    before the United States is paid.

Name of Payee                                                   Total Loss'              Restitution Ordered          Priority or Percentage




TOTALS                                                         $                          $

D    Restitution amount ordered pursuant to plea agreement $ _ _ _ _ _ _ _ _ __

D    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fme is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(1). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

r;t The court determined that the defendant does not have the ability to pay interest, and it is ordered that:
    r;t the interest requirement is waived for r;t fine D restitution.
     D the interest requirement for            D     fme      D restitution is modified as follows:


• Findings for the total amount oflosses are required under Chapters 109A, 110, II OA, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
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AO 245C      (Rev. 06/05) Amended Judgment in a Criminal Case
             Sheet 6 - Schedule of Payments                                                              {NOTE: IdentifY Changes with Asterisks (*))

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DEFENDANT: STEHANIE M. RENNISON
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                                                     SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay. payment of the total criminal monetary penalties shall be due as follows:

A    lit Lump sum payment of $ _ _ _ _ _ __ due immediately, balance due
           o not later than                                         , or
           o in accordance with 0 C, o D,                       0   E,or    IitF below; or

B    0     Payment to begin immediately (may be combined with              0 C,      o D, or    OF below); or

c    0     Payment in equal               (e.g., weekly, monthly, quarterly) installments of $                      over a period of
          _ _ _ _ _ (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or

D    0     Payment in equal               (e.g., weekly, monthly, quarterly) installments of $                  over a period of
          _ _ _ _ _ (e.g., months or years), to commence                (e.g., 30 or 60 days) after release from imprisomnent to a
           tenn of supervision; or

E    0     Payment during the term of supervised release will commence within               (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    lit Special instructions regarding the payment of criminal monetary penalties:
          X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
          commencement of the term of supervised release. The defendant shall pay the fine in installments of $10.00 or
          ten percent of his net monthly income, whichever is greater, to commence 30 days after release from
          imprisonment to a term of supervision until paid in full.


Unless the court has expressly ordered otherwise, if this judgment imposes imprisomnent, payment of criminal monetary penalties is due
during the period of imprisomnent. All criminal monetary Renalties, except those payments made through the Federal Bureau of Prisons'
Imnate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




o    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount, and
     corresponding payee, if appropriate.




o    The defendant shall pay the cost of prosecution.

o The defendant shall pay the following court cost(s):
o The defendant shall forfeit the defendant's interest in the following property to the United States:

Payments shall be applied in the following order: (II assessment, (2) restitution principal, (3) restitution interes~ (4) fine principal,
(5) fine interest, (6) community restitution, (7) pena ties, and (8) costs, including cost of prosecution and court costs.
